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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                       )
                                                )
       V.                                       )             CRIMINAL NO. 21-CR-28-APM
                                                )
                                                )
BRIAN ULRICH,                                   )
                                                )
       Defendant.                               )

        UNOPPOSED MOTION FOR ADDITIONAL TIME TO FILE MOTIONS

       COMES NOW DEFENDANT BRIAN ULRICH, by and through counsel, who

respectfully requests that the Court grant him additional time to file motions. Indicted in the Fifth

Superseding Indictment (Doc. 328), dated August 4, 2021 and unsealed on August 9, 2021, Mr.

Ulrich was arraigned on August 13, 2021. After his arraignment, Mr. Ulrich filed a Motion for

additional time to file motions, which was granted by the Court. The Government continues to

provide additional discovery, which requires considerable time to review. Therefore, Mr. Ulrich

respectfully requests an extension of time in which to file motions until December 2, 2021. Mr.

Ulrich has no objection to the continued exclusion of time from the Speedy Trial calculation.

Counsel for the Government does not object to this request.

                                              Respectfully submitted,

                                               /s A. J. Balbo
                                               A. J. Balbo, Esq.
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on this 11th day of November, 2021, a true and accurate copy of the

foregoing was electronically filed and served via the Court’s CM/ECF system to all counsel of

record.

                                                Respectfully submitted,


                                                /s A. J. Balbo
                                                A. J. Balbo, Esq.
                                                Balbo & Gregg, Attorneys at Law, P.C.
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